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 8
                                 UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,           )              No. CR 05-00395 CRB
                                         )
13                       Plaintiff,      )              [PROPOSED] ORDER EXCLUDING TIME
                                         )              FROM NOVEMBER 16, 2005 TO
14                       v.              )              FEBRUARY 1, 2006 UNDER THE SPEEDY
                                         )              TRIAL ACT
15   YOUNG JOON YANG, et al.             )
                                         )
16                       Defendants.     )
     ____________________________________)
17                                       )              No. CR 05-00447 CRB
     UNITED STATES OF AMERICA,           )
18                                       )
                 Plaintiff,              )
19                                       )
                 v.                      )
20                                       )
     MISUK MOORE, et al.,                )
21                                       )
                 Defendants              )
22                                       )
     ____________________________________)
23                                       )              No. CR 05-00613 CRB
     UNITED STATES OF AMERICA,           )
24                                       )
                 Plaintiff,              )
25                                       )
                 v.                      )
26                                       )
     CHANG KUN KIM,                      )
27                                       )
                 Defendant.              )
28   ____________________________________)

            On November 16, 2005, defendants in the above-captioned matter appeared, with

     ORDER
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            Case 3:05-cr-00447-CRB           Document 53        Filed 02/01/06      Page 2 of 2



 1   counsel, before the Court for a status conference. Assistant United States Attorneys Peter B.
 2   Axelrod and Monica Fernandez and Department of Justice Trial Attorney Andrew Kline
 3   appeared on behalf of the United States.
 4          Except as set forth in footnote 1, the parties agreed to a continuance of the matter to
 5   February 1, 2006, and a corresponding exclusion of time under the Speedy Trial Act 18 U.S.C. §
 6   3161, to provide defense counsel with sufficient time to obtain and review additional discovery.1
 7
 8          Accordingly, the Court HEREBY ORDERS that the time from November 16, 2005 to
 9   February 1, 2006 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161. For the reasons set
10   forth above, the Court finds that the failure to grant the requested exclusion would deny defense
11   counsel reasonable time necessary for effective preparation taking into account the exercise of
12   due diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18
13   U.S.C. § 3161(h)(8)(B)(ii), based on the number of defendants (34 charged), the number of calls
14   on the wire (exceeding 33,000) and the fact that the vast majority of the calls are in the Korean
15   language. Thus, the Court finds that the ends of justice served by granting the requested
16   exclusion outweigh the best interest of the public and the defendant in a speedy trial and in the
17   prompt disposition of criminal cases. The Court therefore concludes that this exclusion of time
18   should be made under 18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
                                                                     ISTRIC
19   IT IS SO ORDERED.
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21                                                                          D
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     DATED:
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22                                                       ITR.ISBREYER
                                                   CHARLES
                                                                                           R NIA




                                                   UNITED STATES DISTRICT JUDGE
23
      February 01, 2006                                                 arles R. Breyer
                                                     NO




24                                                            J udge Ch
                                                                                          FO
                                                        RT




            1
                At the hearing, counsel for defendant Seyun Kim objected to an exclusion of time under
                                                                                          LI




25   the Speedy Trial Act based on a severance motion thatEcounsel filed that same day. The motion
                                                          H




                                                                                     A




     is set for hearing on December 14, 2005, and defendantsR N
                                                              Min Young Bang and Young  C       Joo Lee
26
                                                                                    O Ftime is tolled
                                                                 D ICourt
     have joined the motion. With respect to those defendants, the
                                                                     STR
                                                                           findsTthat
                                                                              C the motion hearing
27   under the Speedy Trial Act based on the filing of the motions until, atIleast,
     date. See 18 U.S.C. § 3161(h)(1)(F).
28
     ORDER
     CR 05-00395 CRB/CR 05-00447 CRB /CR 05-00613 CRB
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